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                      14
                      15                     UNITED STATES DISTRICT COURT
                      16        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                      17
                      18 Y.Y.G.M. SA d.b.a. BRANDY                   Case No. 2:19-cv-04618-RGK (JPRx)
                         MELVILLE, a Swiss corporation,
                      19                                             DEFENDANT REDBUBBLE INC.’S
                                            Plaintiff,               REPLY IN SUPPORT OF ITS
                      20                                             RENEWED MOTION FOR
                              v.                                     JUDGMENT AS A MATTER OF
                      21                                             LAW, OR IN THE ALTERNATIVE,
                         REDBUBBLE INC.,                             FOR A NEW TRIAL
                      22
                                            Defendant.               Date: September 27, 2021
                      23                                             Time: 9:00 a.m.
                                                                     Crtrm.: 850
                      24                                             Judge: Hon. R. Gary Klausner
                      25
                      26
                      27
                      28

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                      1 I.     INTRODUCTION
                      2        Plaintiff does not and cannot dispute that the only evidence of record that
                      3 might support the jury’s contributory counterfeiting verdict on the LA Lightning
                      4 Mark (i.e., the only possible basis for a statutory damage award) pertains to a single
                      5 offer of apparel bearing the LA Lightning design by third-party seller haleyshore.
                      6 There were indisputably no sales of such apparel, and Plaintiff fails to point to any
                      7 evidence of damage caused by this conduct. Yet Plaintiff clings to the claim that a
                      8 $200,000 statutory damage award was a proportionate remedy, relying on
                      9 inapplicable procedural arguments and equally inapposite case law.
                  10           Redbubble has properly “renewed” under Rule 50(b) the arguments it made
                  11 under Rule 50(a). It presented arguments that were previously raised at or before
                  12 trial, and thus cannot be deemed waived. And it pointed to the complete absence of
                  13 evidence to support various findings by the jury verdict, including the willful
                  14 contributory counterfeiting liability verdict and the associated statutory damage
                  15 award. Redbubble therefore reiterates its request that judgment be entered in its
                  16 favor as a matter of law on all claims, but in particular on the counterfeiting claim
                  17 and/or the statutory damages award, or alternatively, that the Court should reduce
                  18 any statutory damages award to the statutory minimum and/or order a new trial.
                  19 II.       THE WILLFUL COUNTERFEITING VERDICT CANNOT STAND
                  20           A.     The Evidence of Contributory Counterfeiting Was Insufficient
                  21           Redbubble’s primary contributory liability argument remains unrebutted. As
                  22 Redbubble pointed out at pages 4-5 of its Motion, the Court properly instructed that
                  23 Redbubble could only be contributorily liable if it provided services to a particular
                  24 direct infringer that “the defendant knew or had reason to know 1 … was infringing
                  25 the plaintiff’s trademark and the defendant continued to supply its services.” See
                  26
                  27      1
                      The language “knew or had reason to know” encompasses both standard
                  28 contributory infringement (“knew”) and willful blindness (“had reason to know”);
                     both depend on the continued provision of services to a particular direct infringer.

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                      1 also Sony Corp. of Am. v. Universal City Studios, Inc., 464 U.S. 417, 439 n.19
                      2 (1984) (contributory trademark infringement is a narrow tort that applies only where
                      3 a defendant provides its products or services “to identified individuals known by it
                      4 to be engaging in continuing infringement”); Fonovisa, Inc. v. Cherry Auction, Inc.,
                      5 76 F.3d 259, 265 (9th Cir. 1996) (contributory trademark infringement applies
                      6 where a defendant provides goods or services to another “knowing or having reason
                      7 to know that the other is acting or will act tortiously”). The only direct infringer to
                      8 offer apparel 2 with an LA Lightning design after Plaintiff notified Redbubble of that
                      9 mark was haleyshore, but there is no evidence that Redbubble knew of this user’s
                  10 infringement and continued to supply its services to this user; rather, once
                  11 Redbubble learned of the relevant listing, it promptly removed it and cancelled the
                  12 only associated order (to Plaintiff’s counsel). Plaintiff responds that Redbubble
                  13 waived this argument by not arguing willfulness in the first 20 pages of its Rule
                  14 50(a) motion, but Redbubble made the argument at pages 3-4 of that motion.
                  15 Plaintiff’s failure to rebut Redbubble’s argument on the merits speaks volumes.
                  16           Plaintiff’s contributory liability theory also fails because no apparel bearing
                  17 the LA Lightning mark ever existed. Plaintiff responds that “an offer to sell is
                  18 sufficient for counterfeiting even if the good has not yet been produced,” relying on
                  19 Levi Strauss & Co. v. Shilon, 121 F.3d 1309 (9th Cir. 1997), But in Shilon, finished
                  20 products bearing the counterfeit mark existed; defendant even provided plaintiff
                  21 with samples of such products. 121 F.3d at 1311. Shilon thus stands for the
                  22 unremarkable proposition that an offer for sale can support an infringement claim
                  23 even if the specific units offered had not yet been produced. But there can be no
                  24 claim, even under Shilon, where no units of the product offered have ever existed.
                  25
                  26     2
                       Plaintiff again seeks to confuse the Court, as it did the jury, by asserting that it
                  27 “has used the LA Lightning Mark continuously since 2018 on apparel, stickers,
                     decorative signs, and murals.” (Opp. at 8) But other than apparel, none of those
                  28 items are goods for which the mark was registered (see ECF No. 212-5), and they
                     therefore cannot support counterfeiting as a matter of law. (ECF No. 189 at 27)

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                      1 See Silberstein v. Fox Entm’t Grp., Inc., 424 F. Supp. 2d 616, 633 (S.D.N.Y. 2004)
                      2 (“There can be no confusion as to the source of a product if there is no product”).
                      3         Plaintiff’s attempt to rely on the doctrine of willful blindness is similarly
                      4 unavailing. As discussed above, and as the Court told the jury, general knowledge of
                      5 infringement is insufficient to establish willful blindness; specific knowledge of (or
                      6 willful blindness to) specific infringing users or marks is required. Here, Plaintiff
                      7 has offered no evidence that Redbubble either knew or had reason to know that
                      8 haleyshore was infringing the LA Lightning mark and turned a blind eye to that
                      9 infringement. Nor is there evidence that Redbubble was willfully blind to
                  10 infringement of the LA Lightning Mark in general; to the contrary, the record
                  11 reflects that three days after first receiving notice of that mark, Redbubble began
                  12 proactively policing for listings bearing that mark. (ECF No. 199-12) And Plaintiff’s
                  13 own authorities note that such policing was in excess of Redbubble’s legal
                  14 obligations. See Omega SA v. 375 Canal, LLC, 984 F.3d 244, 255 (2d Cir. 2021)
                  15 (district court properly instructed that defendant had “no affirmative duty to take
                  16 precautions against the sale of counterfeit goods or to seek out and prevent alleged
                  17 trademark violations, and cannot be found liable if it simply fails to take reasonable
                  18 preemptive precautions against sales of counterfeit items”). 3
                  19            In sum, since there was no evidence of Redbubble “intentionally shielding
                  20 itself from discovering” haleyshore’s infringement or other specific infringements of
                  21 the LA Lightning Mark, Plaintiff’s willful blindness claim cannot be upheld as a
                  22      3
                            If Omega permits liability where a defendant lacked knowledge of the identity of a
                  23      specific vendor due to willful blindness, it may conflict with controlling precedent
                          (the Supreme Court’s Sony decision and the Ninth Circuit’s Fonovisa decision
                  24      discussed at pages 1-2), as well as the Second Circuit’s own prior holding in Tiffany
                          that contributory infringement is limited to instances where a defendant provides
                  25      goods or services to “identified individuals known by it to be engaging in continuing
                          infringement.” 600 F.3d at 108 (quoting Sony). Regardless, liability under Omega
                  26      would require affirmative steps to avoid learning of specific sellers or products
                  27      using the specific mark in question, which were absent here. 984 F.3d at 255 (if
                          defendant “undertakes bona fide efforts to root out infringement, such as eBay did in
                  28      Tiffany, that will support a verdict finding no liability, even if the defendant was not
                          fully successful in stopping infringement”).

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                      1 matter of law. 4 See Spy Phone Labs LLC. v. Google Inc., No. 15-CV-03756-KAW,
                      2 2016 WL 6025469, at *5 (N.D. Cal. Oct. 14, 2016) (rejecting the argument that
                      3 willful blindness requires a defendant “not to just police specific vendors who it has
                      4 been put on notice of selling counterfeit goods, but to also preemptively check over
                      5 the goods of every vendor to ensure they are not also selling counterfeit goods”).
                      6         B.     There Was No Evidence to Support the Willfulness Verdict
                      7         Willful counterfeiting necessarily requires proof beyond that for simple
                      8 contributory counterfeiting (e.g., via willful blindness), since it allows for enhanced
                      9 remedies: it “requires proof that a person acted voluntarily and intentionally and
                  10 with the specific intent to commit the act.” (ECF No. 189 at 28 (emphasis added))
                  11 Plaintiff’s failure to point to evidence that satisfies even the standards for willful
                  12 blindness, let alone this heightened standard, effectively concedes its absence, and
                  13 requires that the Court grant judgment as a matter of law.5
                  14
                  15      4
                            Plaintiff’s purported evidence that Redbubble could have done more to stop
                          infringement of Brandy Melville’s marks in general fails to establish contributory
                  16      liability because it doesn’t relate specifically to the alleged counterfeits. (Opp. at 9-
                          11) Plaintiff has identified no precedent suggesting that marketplaces are required to
                  17      purported infringements identified by a non-party “vigilante crime-fighter.”
                  18      Testimony that “there are significant quantities of infringing goods on Redbubble’s
                          site as we sit here today,” did not relate to Plaintiff’s marks, merely that “[i]t is
                  19      impossible to be 100 percent perfect” at identifying and removing all infringements.
                          (Masur Decl. Ex. U at 297:14-298:13) Plaintiff speculates that “low-quality,
                  20      unoriginal designs equates to infringing products,” but that would at most support
                          inapposite “general knowledge.” Celco, 2014 WL 12573411 at *17. “[F]ailing to
                  21      give notice or warning about infringing or counterfeit Brandy Melville products to
                          … third-party manufacturers and customer service representatives” doesn’t support
                  22      willful blindness under Plaintiff’s own cited precedent. See Omega, 984 F.3d at 255
                          (“no affirmative duty … to take reasonable preemptive precautions against sales of
                  23      counterfeit items”). Plaintiff proffered no evidence about “the size of [Redbubble’s]
                  24      content moderation team for Brandy Melville,” only that Redbubble didn’t “hire
                          hundreds of new people to … block your word.” (Masur Decl., Exh. U at 323:25-
                  25      324:3) Finally, speculation that “internal research showed that the ‘Brandy Melville’
                          keyword was one of the most effective keywords for converting Redbubble searches
                  26      to potential purchases,” belies testimony that expressly disclaimed knowledge of
                          what the document meant. (Id. at 327:24-328:4)
                  27      5
                            The fact that on summary judgment, the Court found a potential “‘jury question’ as
                  28      to whether Redbubble engages in ‘willful blindness’” (Opp. at 9) is irrelevant to
                          whether the evidence submitted at trial supports such a finding, which it does not.

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                      1         Plaintiff’s procedural objection – unsupported by any legal authority – that
                      2 Redbubble waived any challenge to the willfulness verdict by omitting it from the
                      3 first 20 pages of its Rule 50(a) motion is factually incorrect. (See ECF No. 185,
                      4 Motion at 2 (noting that Redbubble was moving for JMOL due to the absence of
                      5 evidence on “the elements of willful infringement,” Memo at 1 (arguing that there is
                      6 no evidence “that Redbubble has engaged in the type of willful infringement that is
                      7 required for an award of enhanced statutory damages”). Accordingly, this argument
                      8 must be rejected. See True Health Chiropractic, Inc. v. McKesson Corp., 896 F.3d
                      9 923, 930-31 (9th Cir. 2018) (passing reference to an issue in a brief preserved issue
                  10 because it was “raised sufficiently for the trial court to rule on it”).
                  11 III.       THE STATUTORY DAMAGES AWARD WAS CONTRARY TO LAW
                  12            Although Plaintiff is entitled to recover minimum statutory damages of
                  13 $1,000 if counterfeiting liability is upheld, there is no precedent for the jury’s award
                  14 of $200,000, given the de minimis infringement and the lack of any evidence of
                  15 either profit to Redbubble or harm to Plaintiff from counterfeiting of the only mark
                  16 in question, the LA Lightning Mark. Plaintiff’s attempts to confuse the issues and
                  17 preserve its windfall award by pointing to phantom procedural barriers, nonbinding
                  18 authority, and findings regarding other marks, should be rejected.
                  19            Plaintiff asserts that Redbubble waived its right to challenge the excessive and
                  20 disproportionate jury award by failing to clairvoyantly object to the amount in its
                  21 Rule 50(a) motion. But it “would have been impossible” to challenge the
                  22 excessiveness of the jury’s award before the verdict. Go Medical Indus. Pty, Ltd. v.
                  23 Inmed Corp., 471 F.3d 1264, 1272 (Fed. Cir. 2006) (rejecting argument that “a
                  24 district judge may not rely on new grounds not raised in a Rule 50(a) to set aside the
                  25 jury’s verdict”). Moreover, regardless of any Rule 50 motion, Rule 59 entitles
                  26 Redbubble to challenge the excessive verdict.6 Finally, even if Redbubble were
                  27
                          6
                  28       Plaintiff contends that Redbubble’s waived its arguments for a new trial. (Opp. at
                          3). But excessiveness of the jury award and argument of counsel “were either

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                      1 somehow obligated to raise the excessiveness of the verdict before it was rendered,
                      2 Redbubble’s requested jury instructions preserved its proportionality challenge.7
                      3        As for the merits, binding Ninth Circuit precedent (never acknowledged by
                      4 Plaintiff) establishes that “[s]tatutory damages are intended as a substitute for profits
                      5 or actual damage” and should not provide a “windfall.” Desiree, LLC v. Manna
                      6 Textiles, Inc., 986 F.3d 1253, 1271 (9th Cir. 2021) (quoting Frank Music Corp. v.
                      7 Metro-Goldwyn-Mayer, Inc., 772 F.2d 505, 520 (9th Cir. 1985). But $200,000 in
                      8 statutory damages with no actual damages to the plaintiff, or profits for the
                      9 infringer, is the very definition of a “windfall.” Plaintiff’s arguments to the contrary
                  10 are based exclusively on unpublished Ninth Circuit cases or other non-binding
                  11 authority, and cannot overcome the precedential holdings in Desiree and Frank.
                  12 Indeed, district courts in this Circuit have consistently applied the “windfall”
                  13 language from Frank Music and Desiree to require that any “statutory damages
                  14 award ‘must bear a plausible relationship to Plaintiff’s actual damages.’” Atari
                  15 Interactive, Inc. v. Redbubble, Inc., --- F. Supp. 3d ----, 2021 WL 2766893, at *4
                  16 (N.D. Cal. 2021) (quoting Michael Grecco Productions, Inc. v. Enthusiast Gaming,
                  17 Inc., No. 19-CV-06399-LHK, 2020 WL 7227199, at *10 (N.D. Cal. Dec. 8, 2020));
                  18
                  19 preserved because they were raised during trial or they could not have been raised
                     during trial because they relate to the jury’s verdict” or otherwise postdated the
                  20 50(a) motion. Mitchell v. 3PL SYs., Inc., No. 8:11-cv-0534-AG-AN, 2013 WL
                     12129614, at *2 (C.D. Cal. Mar. 11, 2013). Even were the post-verdict arguments
                  21 insufficiently encapsulated in Redbubble’s 50(a) motion, they should be considered
                     under Rule 59. Parker v. Alexander Marine Co., No. 8:12-cv-1994-DOC-AN, 2015
                  22 WL 12712083, at *12 (C.D. Cal. May 26, 2015) (argument that “could not have
                     been raised in a pre-verdict JMOL” can be addressed under Rule 59).
                  23 7
                       Redbubble raised the relevant issues, including in connection with parties’
                  24 proposed jury instructions. (ECF Nos. 159, 160-61, 177) Redbubble addressed
                     proportionality by specifically requesting that the Court instruct that statutory
                  25 damages required consideration of “the expenses saved and the profits reaped by the
                     defendant [and] the revenues lost by the plaintiff,” and “are intended as a substitute
                  26 for profits or actual damage, not to provide a windfall.” (ECF No. 159 at 99-100)
                  27 While  Plaintiff also insists that Redbubble should have sought a punitive damages
                     instruction, they were not at issue here, and Plaintiff’s own authorities distinguish
                  28 punitive and statutory damages law. (Compare Opp. at 12 with id. at 15-16 (citing
                     Vanderbilt Mortg. & Fin., Inc. v. Flores, 692 F.3d 358, 374 (5th Cir. 2012)).

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                      1 Yelp Inc. v. Catron, 70 F. Supp. 3d 1082, 1102 (N.D. Cal. 2014).
                      2        Plaintiff argues that there need be no relationship between actual damages or
                      3 profits and statutory damages because in many cases the defendant defaults or its
                      4 financial records are “nonexistent, inadequate or deceptively kept,” rendering proof
                      5 of profits or damages “extremely difficult if not impossible.” (Opp. at 13-16
                      6 (citations omitted)). Here, Plaintiff failed to show that Redbubble provided
                      7 inadequate or deceptive financial records, and itself relied on those records to show
                      8 liability. Redbubble’s thorough and accurate recordkeeping proved that there were
                      9 no infringers’ profits relating to counterfeiting of the LA Lightning mark. Thus,
                  10 discussions of statutory damages in cases involving defaulting defendants or
                  11 doctored or withheld records 8 are simply irrelevant; indeed, applying such cases
                  12 here would effectively punish Redbubble for providing relevant evidence, and
                  13 reward Plaintiff for its failure to do the same. Compare, e.g., Atari, 2021 WL
                  14 2766893, at *7 (“failure to disclose damages calculations or evidence” precluded
                  15 “seek[ing] more than the minimum amounts” except based on infringer’s profits).
                  16           Plaintiff also argues that the $200,000 statutory damages award was
                  17 reasonable in light of the $20,000 award of profits, claiming that there is a 10:1
                  18 ratio. But the only remaining statutory damages award is for counterfeiting of the
                  19 LA Lightning Mark, while the $20,000 profits award was for all other contributory
                  20 infringement for all marks. The ratio between statutory damages and profits for
                  21 contributory counterfeiting of the LA Lightning Mark is 200,000:0. Plaintiff has not
                  22 cited and cannot cite to a case where such a ratio has ever been sustained.
                  23           Indeed, as Plaintiff’s own authorities assert, where a plaintiff proves no
                  24
                  25      8
                       See. e.g., Peer Int’l Corp. v. Pausa Records, Inc., 909 F.2d 1332, 1337 (9th Cir.
                     1990) (defendant failed to maintain accounting of relevant sales); Rolex Watch
                  26 U.S.A., Inc. v. Dauley, No. 84-cv-6150, 1986 WL 12432, *4 (N.D. Cal. Feb. 4,
                  27 1986) (evidence suggested large scale infringements that were not accounted for in
                     defendant’s sales records); Louis Vuitton Malletier, S.A. v. LY USA, No. 06
                  28 CIV.13463(AKH), 2008 WL 5637161, at *2 (S.D.N.Y. Oct. 3, 2008) (anemic sales
                     records produced by the defendant precluded quantifying losses).

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                      1 quantifiable harm from the acts subject to statutory damages, the appropriate award
                      2 is the “statut[ory] minimum penalty.” Vanderbilt, 692 F.3d at 374 (quoted at Opp. at
                      3 16 (quoting same)); accord, e.g., Atari, 2021 WL 2766893, at *4 (“to avoid a
                      4 potential windfall, [Plaintiff] must provide some evidence of its lost profits or
                      5 Redbubble’s profits if it seeks an award greater than the statutory minimum”).
                      6 Indeed, courts have observed for the parallel copyright statutory damages scheme
                      7 “that when a plaintiff does not establish that any damage has resulted from an
                      8 infringement,” only a minimum statutory damages award is warranted. Mon Cheri
                      9 Bridals, LLC v. Cloudflare, Inc., No. 19-cv-01356 ), 2021 WL 1222492, at *2 (N.D.
                  10 Cal. April 1, 2021) (quoting Bly v. Banbury Books, Inc., 638 F. Supp. 983, 987-88
                  11 (E.D. Pa. 1986)). For Lanham Act counterfeiting claims, the minimum statutory
                  12 damage award is $1,000. Any greater award would be excessive, contrary to the
                  13 evidence of record, and perhaps a violation of due process (although the Court need
                  14 not reach the Constitutional issue if it finds the award excessive and contrary to
                  15 evidence). 9 Accordingly, if the Court preserves the jury’s counterfeiting verdict, it
                  16 should reduce statutory damages to $1,000 or issue a remittitur and order a new trial.
                  17 IV.       PLAINTIFF FAILED TO SHOW CONFUSION FOR ANY MARKS,
                  18           REGISTERED OR UNREGISTERED.
                  19           The evidence failed to show actual confusion for Plaintiff’s registered and
                  20 unregistered marks, because “non-trademark graphics” cannot “support allegations
                  21 of trademark confusion” and trademark law protects unregistered images only if
                  22 they perform a source-identifying function. (ECF No. 185 at 17-20 (citing Fifty-Six
                  23 Hope Rd. Music, Ltd. v. A.V.E.L.A., Inc., 688 F.Supp.2d 1148, 1158-59 (D. Nev.
                  24 2010)). Dastar Corp. v. Twentieth Century Fox Film Corp. specifically warns
                  25
                     9
                       The Court may rely on the rationale of out-of-Circuit district court cases that were
                  26 subsequently overruled by their Circuit Court of Appeals, since they are only cited
                  27 for their persuasive effect. See Grigsby v. Mabry, 758 F.2d 226, 237 (8th Cir. 1985)
                     (relying on overruled out-of-Circuit district court opinion), rev’d on other grounds
                  28 sub  nom., Lockhart v. McCree, 476 U.S. 162 (1986). However, Redbubble
                     apologizes for its oversight in failing to note that the cases had been overruled.

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                      1 against extending the Lanham Act as Plaintiff attempts here: “creat[ing] a species of
                      2 mutant copyright law.” 539 U.S. 23, 34 (2003). Dastar explicitly limited recovery
                      3 for unregistered mark infringement to claims where there was actual confusion as to
                      4 the producer of the tangible goods that were offered for sale. Id. at 37. Slep-Tone
                      5 Ent’ment Corp v. Wired for Sound Karaoke & DJ Serv., LLC, extended Dastar to
                      6 registered and unregistered marks. 845 F.3d 1246, 1249 (9th Cir. 2017). Plaintiff’s
                      7 spurious attempt to distinguish Slep-Tone is not supported by the text of the Ninth
                      8 Circuit opinion, which noted that the allegedly infringing products displayed
                      9 Plaintiff’s trademarks when performed, and yet denied all Lanham Act claims for
                  10 failure to show “consumer confusion about the source.” 845 F.3d at 1249-50.
                  11           Similarly, every page Plaintiff identifies with a “brandy melville” tab also
                  12 shows Redbubble’s house marks and the artist’s name. Plaintiff provided no survey
                  13 evidence to support actual confusion at all, and no evidence that the “brandy
                  14 melville” tab was more source identifying than the Redbubble house mark or the
                  15 artist’s name. Further, the only witness to testify as to actual confusion testified that
                  16 she was not confused. (Masur Decl. Exh. U at 229:15-21) Plaintiff’s closing
                  17 argument that it “is not about the designs, it is about linking the design to our trade
                  18 name” violates Dastar, because Plaintiff proffered no evidence of actual source-
                  19 confusion. Dastar and Slep-Tone entitle Redbubble to judgment as a matter of law,
                  20 as Plaintiff failed to show any confusion as to source.
                  21 V.        PLAINTIFF’S MISCONDUCT JUSTIFIES A NEW TRIAL
                  22           Per Plaintiff’s own cited case law, a new trial should be granted if the claimed
                  23 misconduct “permeate[d]” or “pervaded” the proceeding. Settlegoode v. Portland
                  24 Pub. Sch., 371 F.3d 503, 516, 518 (9th Cir. 2004). Indeed, even attorney misconduct
                  25 that occurs only at the end of the trial in closing statement can justify a new trial.
                  26 Bird v. Glacier Elec. Coop., Inc., 255 F.3d 1136, 1145 n. 16 (9th Cir. 2001).
                  27           Here, Plaintiff’s counsel urged the jury to ignore the instruction regarding
                  28 “stitch-for-stich” copying that Counsel knew the Court was about to give. (ECF No.


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                      1 212-4 at 501: 9-14) Plaintiff’s counsel urged the jury to impose more damages
                      2 because Redbubble is a foreign corporation. (Id. at 505:20-506:11); see Bird, 255
                      3 F.3d at 1145). And Plaintiff’s counsel violated motion in limine no. 6, which barred
                      4 allegations of third-party IP infringement, in his opening (Masur Decl. Exh. T at
                      5 75:2-12), during two of three cross-examinations (id., Exhs. U at 297:19-22
                      6 (objection sustained), V at 456:14-22 (instructing sua sponte)), and in closing. (ECF
                      7 No. 212-4 at 505:16-18, 506:10) Misconduct in opening, two of three cross-
                      8 examinations, and closing, is sufficiently “permeating” to justify a new trial.
                      9 VI.    REDBUBBLE PROPERLY INCORPORATED ITS PRIOR BRIEFING
                  10           Redbubble properly identified, raised and incorporated by reference certain
                  11 arguments from its Rule 50(a) motion that it lacked space to address in detail to
                  12 avoid any question of waiver on appeal. Plaintiff argues that these arguments are
                  13 nonetheless waived because Redbubble’s reference to these issues purported
                  14 violated FRCP 7, without citing any case law or direct statutory authority. But Rule
                  15 7’s requirement that motions “shall state with particularity the grounds therefor,” is
                  16 adequately met by incorporation by reference. See, e.g., Fort James Corp. v. Solo
                  17 Cup Co., 412 F.3d 1340, 1347 (Fed. Cir. 2005) (“When the Motion … is read in
                  18 conjunction with the document specifically referenced therein, there is no question
                  19 regarding the grounds for the relief demanded. In such circumstances, it is
                  20 appropriate to consider previously filed documents outside the four corners of the
                  21 motion in determining whether the particularity requirement of FRCP 7 has been
                  22 satisfied”). Accordingly, Plaintiff’s final waiver argument should also be rejected.
                  23           Judgment as a matter of law should be granted or a new trial ordered.
                  24 Dated: September 13, 2021                      Respectfully submitted,
                  25                                     COASTSIDE LEGAL         ZUBER LAWLER LLP
                                                         KENNETH B. WILSON       JOSHUA M. MASUR
                  26                                                             JENNIFER C. KUHN
                  27                                          By: /s/ Joshua M. Masur
                                                                  Attorneys for Defendant Redbubble Inc.
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